

People ex rel. Nieves v Molina (2023 NY Slip Op 00800)





People ex rel. Nieves v Molina


2023 NY Slip Op 00800


Decided on February 10, 2023


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 10, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
JOSEPH J. MALTESE
LARA J. GENOVESI
JANICE A. TAYLOR, JJ.


2023-01127

[*1]The People of the State of New York, ex rel. Jose L. Nieves, on behalf of Lovepreet Singh, petitioner,
vLouis Molina, etc., respondent.


Jose L. Nieves, Bayside, NY, petitioner pro se.
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill, Nancy Fitzpatrick Talcott, and Jaedon J. Huie of counsel), for respondent.



DECISION &amp; JUDGMENT
Writ of habeas corpus in the nature of an application to release Lovepreet Singh upon his own recognizance or, in the alternative, to set reasonable bail upon Queens County Indictment No. 72632/2022.
ADJUDGED that the writ is dismissed, without costs or disbursements.
The determination of the Supreme Court, Queens County, did not violate "constitutional or statutory standards" (People ex rel. Klein v Krueger , 25 NY2d 497, 499; see People ex rel. Rosenthal v Wolfson , 48 NY2d 230).
DILLON, J.P., MALTESE, GENOVESI and TAYLOR, JJ., concur.
ENTER:
Maria T. Fasulo
Clerk of the Court








